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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

DONALD FALLS, JILL HARPER,
Dr. ROBERT CASSANELLO, STEPHANIE
NICOLE JAMIESON, as next of friend of RMJ,
Dr. TAMMY L. HODO,

        Plaintiffs,

vs.                                             Case No.: 4:22-cv-00166

RON DESANTIS, in his official
capacity as Governor of Florida; RICHARD CORCORAN,
in his official capacity as Commissioner of the
Florida State Board of Education; TOM GRADY,
BEN GIBSON, MONESIA BROWN, MARVA
JOHNSON, RYAN PETTY, JOE YORK,
in their official capacities as members of the
Florida State Board of Education; BRIAN LAMB,
TIMOTHY M. CERIO, AUBREY EDGE, PATRICIA FROST,
EDWARD HADDOCK, H. WAYNE HUIZENGA, JR.,
NATASSIA JANVIER, KEN JONES,
DARLENE LUCCIO JORDAN, ALAN LEVINE,
CHARLES H. LYDECKER, STEVEN M. SCOTT,
WILLIAM SELF, ERIC SILAGY, KENT STERMON,
in their official capacities as members of the Florida Board of
Governors of the State University System; and ASHLEY MOODY,
in her official capacity as Florida’s Attorney General,

      Defendants.
       ___________________________________

                      DECLARATION OF DR. TAMMY HODO
STATE OF FLORIDA              }
                              } SS.
COUNTY OF DUVAL               }


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      I, Tammy Hodo, do hereby submit this declaration and state the following:

      1.     I am over the age of 18 and am a resident of the State of Florida. I have

personal knowledge of the facts herein, and if called as a witness, could testify

competently thereto.

      2.     I am the president and founder of All Things Diverse., a service-

disabled veteran, minority and women owned business in Jacksonville, Florida that

provides consulting services to businesses, academic institutions, non-profit

organizations, and government entities who value diversity and want to develop a

high performing and inclusive work force.

      3.     Empirical research and anecdotal evidence support the idea that

diversity enhances educational, social, and cultural outcomes for everyone. Over the

course of our professional careers, we have made a commitment and contribution to

initiatives and programs that aim to make excellence inclusive, and to foster a sense

of social responsibility in adult learners.

      4.     Our clients have routinely praised the training and consultation that we

offer. A representative sample of client testimonials are attached hereto as Exhibit

A.

      5.     HB7’s amendments to the Florida Civil Rights Act will have a

substantial impact on my diversity and inclusion training and curriculum.




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         5.   For example, I offer a 60-minute course on institutional racism that

covers the impact that discrimination has had on marginalized communities. The

course seeks to provide an understanding of why there are a disproportionately low

number of minorities in positions of power. For example, of the Fortune 500

companies only 41 have female CEOS and only two have CEOS who are women of

color.

         6.   HB7’s restriction would put both my company and my clients at risk of

civil liability if I continued to teach this course as currently taught. HB7 requires me

to teach that “a person’s moral character or status as either privileged or oppressed

is necessarily determined by his or her race, color, national origin, or sex.” However,

the very premise of institutional racism is to explain how discrimination both

historically and in our contemporary society results in disparate socioeconomic

outcomes across race, sexuality, and gender.

         7.   HB7 suggests that socioeconomic status in contemporary America is

earned solely through “virtues such as merit, excellence, and hard work.” However,

for minorities this is often simply not true.

         8.   My courses also contain discussions on atrocities that our country has

committed against minorities that can often lead to difficult conversations about

America and its history. For example, part of my curriculum includes discussion of

the United States government placing indigenous peoples in boarding schools


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starting in the early 19th century and continuing into the 1960s. Peoples in these

schools were subject to brutal and abhorrent conditions. A recent federal study on

these boarding schools identified more than 500 student deaths at these schools,

many of whom were buried in unmarked graves.

        9.    While it is not my intention to cause my clients to feel anguish or

psychological distress when discussing these topics, those feelings are often a natural

response to learning about the darker aspects of this country’s history. The purpose

of offering this training is, in part, to open peoples’ eyes to this aspect of our history

so that it will never be repeated. That process often involves a degree of

psychological distress and encouragement that companies and employees take moral

responsibility to correct the effects that historical atrocities have on today’s society.

        10.   Another course I routinely offer is a 60-minute course on implicit biases

and microaggressions. This course involves how implicit bias impacts everyday

interactions and has clients review the results of the Harvard Implicit Association

Test.

        11.   Under HB7, I would not be able to offer this course because I am

expressly forbidden from expressing the viewpoint that “a person, by virtue of his

or her race, color, national origin, or sex is inherently racist, sexist, or oppressive,

whether consciously or unconsciously.”




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      12.    The reality is that we all have biases, and we cannot begin to create a

true and just society until we address them. Covid-19 exposed many to the reality

that most people in the Diversity, Equity, and Inclusion (DEI) field have known for

some time, social determinates impact health outcomes. Some statistics we also

know is that African American women have the highest rate of obesity of all

race/gender groups. Low-income communities are often food deserts, which means

finding fresh fruits and vegetables can be challenging as well as transportation to get

to the areas where the food is available. There is a direct correlation between income,

health, and illness. We cannot continue to act as if we do not know that the variables

of race, ethnicity, immigration status, sexual orientation, identity, and expression

impact life chances. The Center for Disease Control (CDC) acknowledges that

“health inequalities have persisted across generations because of structural policies

and practices that have systematically limited health access and opportunities.”

      13.    Environmental injustice is also something we address in training as

disproportionately impacts BIPOC (Black, Indigenous, People of Color)

communities. The point of diversity, equity and inclusion training is to educate the

masses while giving them the tools to make positive change, not to make people feel

guilty or sympathy. Change in people happens with empathy and knowledge. HB 7

in effect would halt All Things Diverse capability to work with companies in Florida




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even if they are eager to have training surrounding topics of diversity, equity, and

inclusion.

        14.    When     former   President    Donald    Trump    issued    M-20-34

MEMORANDUM FOR THE HEADS OF EXECUTIVE DEPARTMENTS AND

AGENCIES, regarding Training in the Federal Government, which forbid diversity,

equity, and inclusion training to federal employees All Things Diverse was halted

from implementing an ongoing federal training course contract with the Department

of Veteran Affairs Hospital in Dublin, GA. The letter, which was dated September

4, 2020 and came from the Executive Office of the President, Office of Management

and Budget halted the training entitled “Professional and Cultural Training” that

discussed equitable care for veterans who identify as Transgender. The impact of

HB 7 can and will have the same negative economic effect on All Things Diverse

LLC and hinder any cultural growth our State could truly use.



Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury of the laws of the

United States that the foregoing is true and correct. Executed on the 16 day of May,

2022.

                                      ____________________________________




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    EXHIBIT A
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 “I had an opportunity to attend Tammy’s course on Implicit Bias and Microaggression
    Awareness via SafeColleges Training. It was extremely informative, up to date and
           imperative given the current climate of the world we live in today.“
        Kareem Calliste - Associate Director of Student
      Affairs, Philadelphia College of Osteopathic Medicine
“Tammy facilitated training on emotional intelligence and implicit bias during our 2020
staff retreat and was phenomenal. She conveyed the information clearly and was very
  engaging, including local and national resources and statistics to help inform and
                                  equip our team! “
  Rachael Tutwiler Fortune - President, Jacksonville Public
                      Education Fund
 “I highly recommend Dr. Tammy Hodo for providing a great training experience on the
                              topic of implicit bias.”
     Thomas Elmer - Director of Higher Education, Vector
                         Solutions
   “Dr. Hodo facilitated a workshop on Addressing Implicit Bias: Working with Diverse
   Teams as part of the Nonprofit Center’s 2020 Managing Successful Teams Series.
  Tammy was extremely responsive and professional in all of her communications and
    planning prior to the program and I was confident that she would be an excellent
  facilitator. During the program, she was not only extremely informative but was truly
 relatable as she gave personal experiences to help more than 30 students in the class
  to connect the dots around understanding implicit bias and how it affects their work
and their relationships on teams. Our group gave her outstanding remarks for her down
to earth nature and emphasis on small group discussions and getting everyone’s input.
   Many commented that this was their favorite session of the 5-part training series. I
highly recommend Dr. Hodo and her company All Things Diverse and I look forward to
                         additional opportunities to work with her!”
       Callan Brown - Program Director , Nonprofit Center of
                                         Northeast Florida
“ D r . H o d o ’ s p r e s e n t a t i o n a n d t r ai n i n g d u r i n g o u r p l a n n i n g
retreat before the end of 2020 is still receiving rave reviews
from the team. Dr. Hodo’s presentation focused on developing
a h i g h e m o t i o n al i n t e l l i g e n c e a n d b e i n g a w a r e o f i m p l i c i t
biases that impact our workplace relationships. Several team
members expressed how much they appreciated having the
time to reflect and process areas of development for
themselves to help foster even better professional and
personal relationships. Her approach and message delive ry
provided an opportunity for honest conversations with each
Tammy led our organization's DEI training over the course of two sessions. They were thoughtful,
thorough, and intentional. Our team learned a lot about ourselves and each other. We would highly
recommend All Things Diverse.
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Dr. Hodo's breadth of expertise creates compelling presentations and workshops. She uses history,
sociology, familiar ideas, and less well-known instances and examples to guide people in learning more
about key ideas and values in diversity, inclusion, and non-discrimination. Equally important, she is skilled
at tailoring her work to the audience, ranging from lawyers and business professionals to high school
students or the public. Every time I have seen Dr. Hodo's work, it is impressive and educational.”



Dr Hodo facilitated a panel discussion in honor of Absalom Jones, the first African American to be
ordained a priest in the Episcopal Church (1746-1818). Her introductory talk was informative and set the
tone for a very generous, thought-provoking conversation that allowed each panel member to express
their thoughts in an atmosphere of mutual respect and responsibility. Her warmth, graciousness and
intelligence shaped this Zoom meeting.



Dr Hodo's training is by far the best Diversity and Inclusion training I have ever been a part of. I have been
part of or even facilitated many Diversity and Inclusion trainings with Nationwide Brands and/or big
companies. They have always been left with needing one on ones because there was lacking information
or at times items were just passed over quickly. This is not the case with Dr Hodo. She goes deep,
explains the why and will listen to you when questions arise. I could not recommend her more.



Dr. Hodo delivered two very valuable training sessions for the staff and board of Yoga4Change. Dr. Hodo
encourages open and transparent communication and handles tough subjects deftly. We were very
grateful for her knowledge and leadership. She is professional and is always working towards moving to
greater understanding and community.



Dr. Tammy Hodo is beyond knowledgeable and rich in creating diverse dialogue around taboo subjects.
She has provided insight and resources to our meetings that have helped us create safe spaces for
minorities in the transportation industry. We highly recommend her for future speaking engagements for
professional and academic groups.

Dr. Hodo facilitated a series of three trainings for our entire organization. These trainings came at the
request of our team, and the response was overwhelmingly positive. Our teaching team as a whole
expressed gratitude for the time, information shared, and knowledge gained. On a personal level, I learned
information I had not been privy to before, and overall, these trainings helped me to identify implicit
biases that I have. Because of these trainings, I am more aware of my implicit thought patterns, beliefs,
and behaviors. Thank you so much for these opportunities!

Tammy joined our non-profit on two occasions to progress the conversation about diversity, equity and
inclusion. Each time, she hit the mark. She was thoughtful in the lead up to understand the context of our
different sessions, the audience, and goals. She created a positive and safe space to share openly and
provided action items that individuals and businesses can implement immediately. Through Tammy's
involvement she sparked further productive conversation that has had the intended ripple effect in the
community. We would highly recommend engaging Tammy.
